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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


Amara Harris                               )
       Plaintiff,                          )
c/o The Thomas Law Group                   )
525 N. Broadway, #575                      )
Aurora, IL 60507                           )
                                           )
                      v.                   )
                                           )
CITY OF NAPERVILLE, ILLINOIS,              )
A municipal corporation                    ) Case #: 1:24-CV-04196
                                           )
SERVE ON:                                  )
Office of the City Attorney                )
City of Naperville, Illinois               )
400 S. Eagle Street                        )
Naperville, IL 60540                       )
                                           )
and                                        )
                                           )
Officer Juan Leon, ID #5439, individually, )
1350 Aurora Ave.                           )
Naperville, IL 60540                       )
                                           )
and                                        )
                                           )
Sgt. Jonathan W. Pope #5368, individually  )
1350 Aurora Ave.                           )
Naperville, IL 60540                       )
                                           )
                       Defendants.         )
______________________________________________________________________


                                         COMPLAINT

          Plaintiff, Amara Harris, by and through her counsels, files this Complaint against

Defendants, City of Naperville, Illinois, Juan Leon, and Sgt. Jonathan W. Pope, and for causes of

action states as follows:


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                                JURISDICTION AND VENUE

1.    This action is brought pursuant to 42 U.S.C. § 1983 and the Constitution and laws of the

      United States, as well as applicable statutes of the State of Illinois, to redress the

      deprivation under color of statute, ordinance, regulation, custom, or usage, of any right,

      privilege or immunity secured by the Constitution of the United States and by Illinois law.

2.    Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343. Venue is proper

      in this district under 28 U.S.C. § 1391(b) as the events giving rise to the claims occurred

      in this district.

3.    This court has supplemental jurisdiction over state law claims under 28 U.S.C. § 1367 as

      these claims arise out of the same set of operative facts and circumstances.

                                            PARTIES

4.    At all times relevant to this Complaint, Plaintiff Amara Harris was a resident of Naperville,

      Illinois, and is a former student at Naperville North High School.

5.    Defendant City of Naperville is a municipal corporation in the State of Illinois and is

      responsible for the actions of its employees, including officers of the Naperville Police

      Department.

6.    Defendant Juan Leon is, and at all times mentioned herein was, a police officer employed

      by the Naperville Police Department as a school resource officer, acting under color of law.

7.    Defendant Jonathan W. Pope is, and at all times mentioned herein was, a police officer

      employed by the Naperville Police Department as a school resource officer supervisor,

      acting under color of law.


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                                 FACTUAL ALLEGATIONS

8.    On December 4, 2019, Defendant Juan Leon charged Amara Harris with theft under a

      Naperville ordinance, alleging that Plaintiff stole another student’s Air Pods. Officer Leon

      issued a citation attesting to the veracity and truthfulness of the allegations contained in the

      citation.

9.    The City of Naperville refused to dismiss the unsubstantiated and untrue charges, and

      repeatedly tried to convince Miss Harris to merely pay the ticket, even though there was

      no evidence of theft by Miss Harris.

10. During a trial held in the DuPage County, Illinois Circuit Court, Defendant Juan Leon

      admitted under oath that he issued the ordinance violation citation against Plaintiff Harris

      without any proof to support the charge of theft having occurred, and based on his anger

      toward Plaintiff Harris’s mother, because she would not speak with him concerning the

      allegation of theft.

11. In closing arguments at trial, the city prosecutor indicated that the decision to issue the

      ordinance violation was motivated by a lower burden of proof to establish liability.

12. After a two-day trial, a jury found Plaintiff not liable for the alleged theft.

13. Sgt. Jonathan W. Pope, the school resource officer supervisor failed to train and supervise

      school resource officers in constitutional policing, thereby enabling the establishment of a

      custom of illegal ticketing of students at Naperville North High School, including Amara

      Harris.

14. The Naperville Police Department has a documented history of improperly issuing tickets

      to students for minor infractions, and disproportionately targeting students of color and



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     other protected groups in the issuance of ordinance violation tickets as evidenced by public

     data from the school district.

15. The egregious conduct of the City of Naperville, Illinois through its Police Department has

     caused economic, emotional, and reputational harm to Plaintiff Harris.


                                      COUNT I:
                    ABUSE OF PROCESS UNDER - 42 U.S.C. §1983
                      (Defendant Juan Leon and Sgt. Jonathan Pope)

16. Plaintiff repeats and realleges paragraphs 1 through 13 as if fully set forth herein.

17. Defendant Juan Leon, by issuing an ordinance violation without satisfying the statutory

     basis for issuance, and for improper purposes, engaged in an abuse of process.

18. Defendant Leon testified under oath at trial and admitted that he had no evidence that Miss

     Harris knew that the Air Pods were not hers when he issued the citation.

19. As a direct and proximate result, Plaintiff suffered damages, including but not limited to

     emotional distress, reputational harm, and legal costs.


                                 COUNT II:
    42 U.S.C. §1983 - MALICIOUS PROSECUTION IN VIOLATION OF THE
   FOURTEENTH AMENDMENT OF THE UNITED STATES CONSTITUTION
                             (City of Naperville)

20. Plaintiff repeats and realleges paragraphs 1 through 17 as if fully set forth herein.

21. Defendant City of Naperville, based on the improper actions of its police officers initiated,

     and continued legal proceedings against Plaintiff without probable cause and with malice.

22. At trial, the city’s prosecutor argued that Officer Leon could have chosen to charge theft

     under state statute but chose the lower burden standard of an ordinance violation.




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23. The proceedings terminated in favor of Plaintiff, demonstrating the absence of liability

     under a preponderance of the evidence standard.

24. Plaintiff suffered economic and emotional damages as a direct result of the malicious

     prosecution by the City of Naperville.



                                      COUNT III:
42 U.S.C. §1983 - Unconstitutional Custom, Pattern and/or Practice of Issuing Citations
             and Failure to Train and Supervise School Resource Officers
                                 (Monell Claim)
            (Against City of Naperville, Officer Leon, and Sgt. Jonathan Pope)

25. Plaintiff incorporates and adopts each allegation contained in the preceding

     paragraphs of this Complaint, as if fully set forth herein.

26. This Count is brought by plaintiff against all defendants identified herein jointly,

     and severally.

27. Under the Fourteenth Amendments to the U.S. Constitution, Defendant City of

     Naperville is prohibited from engaging in and permitting its officers to engage in

     a pattern, practice, policy or custom of violating citizens’ civil rights, and it is

     obligated to train and supervise officers in the recognition and handling of

     incidents of corruption, misuse of police powers, and civil rights violations

     committed by Defendant City of Naperville’s officers, as well as recognizing

     patterns of systemic perpetuation of the same.

28. At all relevant times, Defendant City of Naperville, directly and through its

     officers and agents had an obligation to ensure that its officers, employees, and

     agents exercised the same degree of care that a reasonable and prudent person

     would exercise in the same or similar situation with respect to the training,
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    supervision, and oversight of all employees, agents, and officers under its

    direction and control.

29. As identified supra, the training, supervision, and oversight required by City of

    Naperville and Sgt. Jonathan Pope regarding incidents of misuse of police powers

    and rights violations committed by Defendant City of Naperville’s school

    resource officers was inadequate, indifferent, insufficient, or nonexistent, and

    Defendant City of Naperville, directly and through its employees, agents and

    officers, failed to exercise the requisite degree of care in the supervision of all

    employees, agents, and officers under its direction and control.

30. Sgt. Pope, as a ranking officer and school resource officer supervisor had actual

    or constructive knowledge of the pervasive and persistent pattern and practice that

    Officer Leon was engaged in conduct that violated clearly established rights, and

    that this conduct posed an unreasonable risk of Constitutional injury to Miss

    Harris.

31. As identified supra, ranking officers and supervisors had actual or constructive

    knowledge that City of Naperville school resource officers were engaged in

    widespread misconduct over a period of years that posed an unreasonable risk of

    Constitutional injury to plaintiff and other citizens and residents of the State of

    Illinois. City of Naperville’s officers’ conduct was so persistent and pervasive that

    it represented a custom or usage with the force of law.

32. In spite of this knowledge, Defendant City of Naperville, including ranking

    officers and supervisors within the Naperville Police Department, took no action

    to prevent or remedy the misconduct by its officers, and were deliberately


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    indifferent to the persistent Constitutional violations by City of Naperville

    officers whom they directly supervised. Defendants routinely failed to supervise

    and discipline their officers, thus allowing the misconduct to continue and

    flourish.

33. As a direct and proximate result of Defendants’ actions or omissions identified

    herein, Miss Harris sustained emotional, economic, and reputational injuries,

    including, but not limited to pain and suffering, mental anguish, humiliation,

    disgrace, loss of dignity, and other expenses.

34. Defendants City of Naperville, Officer Leon, and Sgt. Pope subjected Miss Harris

    to these deprivations of rights maliciously and/or while acting with reckless

    disregard for, or with deliberate indifference to, Miss Harris's rights, resulting in

    injuries.

35. Defendants’ actions or omissions as described herein were intentional, wanton,

    willful, and constituted a blatant and reckless disregard for Miss Harris's

    Constitutionally protected rights, and as such, plaintiff is entitled to compensatory

    damages.


                                       COUNT IV:
                       42 USC §1983 - Negligent Hiring, Training,
                               Supervision and Retention
                (Against Defendants City of Naperville & Sgt. Jonathan Pope)

36. Plaintiff incorporates and adopts each allegation contained in the preceding

    paragraphs of this Complaint, as if fully set forth herein.

37. This Count is brought by Plaintiff against all Defendants, City of Naperville and

    Sgt. Jonathan Pope herein, jointly and severally.


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38. The individual Defendants identified herein are sued in their individual capacities.

39. At all times relevant to this Complaint, Defendant Sgt. Pope was acting under the

     color of state law as an officer employed by the City of Naperville.\

40. Defendant City of Naperville maintained a duty to use reasonable care in hiring,

     training, supervising, and retaining individuals who were competent and fit to

     perform the duties of a school resource officer.

41. Defendants City of Naperville and Sgt. Pope knew or should have known that

     Officer Leon proved unfit for his assigned duties. The Defendants are obligated

     to train and supervise officers in the recognition and handling of incidents of

     alleged student conduct, misuse of police powers, and rights violations committed

     by Defendant City of Naperville’s officers, as well as recognizing patterns of

     systemic perpetuation of the same.

42. At all relevant times, Defendants City of Naperville and Sgt. Pope directly and

     through its officers and agents had an obligation to ensure that its officers,

     employees, and agents, exercised the same degree of care that a reasonable and

     prudent person would exercise in the same or similar situation with respect to the

     training, supervision, and oversight of all employees, agents, and officers under

     its direction and control.

43. As identified supra, the training, supervision, and oversight required by

     Defendants City of Naperville and Sgt. Pope regarding incidents of misuse of

     police powers, and rights violations committed by City of Naperville officers was

     inadequate, insufficient, or nonexistent, and Defendant City of Naperville,

     directly and through its employees, agents and officers, failed to exercise the
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     above requisite degree of care in the supervision of all employees, agents, and

     officers under its direction and control.

44. Defendants City of Naperville and Sgt. Jonathan Pope, through their agents and

     employees, supervised the Officer Defendants prior to and during the events at

     issue.

45. The ranking officers and supervisors had actual or constructive knowledge of the

     pervasive and persistent pattern and practice that its officers were engaged in

     conduct that violated citizen’s clearly established rights, and that this conduct

     posed an unreasonable risk of Constitutional injury to Miss Harris.

46. It was readily foreseeable and highly predictable that failing to properly supervise

     Defendant City of Naperville’s officers in the proper handling of incidents of

     corruption, misuse of police powers, and rights violation committed by Defendant

     City of Naperville’s officers would, and in fact did, result in the violation of Miss

     Harris's Constitutional rights as alleged herein and Defendant City of Naperville

     was indifferent to the same.

47. As a direct and proximate result of Defendants’ actions or omissions identified

     herein, Miss Harris sustained emotional, mental, and financial injuries, including,

     but not limited to mental anguish, humiliation, disgrace, loss of dignity, and other

     expenses, both economic and noneconomic.

48. Defendants City of Naperville, Sgt. Pope, and all other officers identified herein

     subjected Plaintiff to these deprivations of her rights with reckless disregard for

     or with deliberate indifference to whether Plaintiff’s rights would be violated by




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     their actions and that such actions were the moving force in having such rights

     violated and incurring economic and noneconomic injury.

49. Defendants City of Naperville and Sgt. Pope’s actions or omissions as described

     herein, were intentional, wanton, willful, and a blatant and reckless disregard for

     Miss Harris’s constitutionally protected rights, and, as such, Miss Harris is

     entitled to compensatory damages from Defendants, jointly and severally.


                                     COUNT V:
              42 USC § 1983 - Intentional Infliction of Emotional Distress
                                (Against All Defendants)

50. Plaintiff incorporates and adopts each allegation contained in the preceding and

     subsequent paragraphs of this Complaint, as if fully set forth herein.


51. This Count is brought by Plaintiff against the Defendants as identified herein,

     jointly and severally.

52. The individual Defendants identified herein are sued in their individual capacities.

     At all times relevant to this Complaint, Defendants were acting under the color of

     state law as police officers employed by Defendant City of Naperville.

53. Defendants intentionally subjected Miss Harris to emotional distress when they

     issued a citation for theft without legal justification, forcing her to defend against

     false accusations, expending economic resources to secure legal counsel, delay

     her college matriculation due to ongoing litigation, and continue to endure the

     stress of preparing for a trial that should have never been required.

54. Defendants’ conduct was without legal justification and was improperly

     motivated by ill will and actual malice.


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55. As a result of these acts, Plaintiff sustained emotional, mental, and financial

     injuries, including, but not limited to, pain and suffering, mental anguish,

     humiliation, disgrace, loss of dignity, and other expenses.

56. As a direct and proximate result of the Defendants’ unlawful conduct, the Plaintiff

     suffered extreme emotional distress.


                                     COUNT VI:
                Discrimination Under the Illinois Civil Rights Act of 2003
                                   (All Defendants)

57. Defendants deprived Plaintiff of her rights under the Illinois Constitution and the

     Illinois Civil Rights Act of 2003, 740 ILCS 23/, by issuing a baseless theft citation

     without probable cause and maliciously prosecuting her based on her race, and in

     retaliation for her mother's refusal to speak with police to approve unwarranted,

     alternative discipline.

58. Defendants' actions constituted racial discrimination, a denial of constitutional

     rights, intimidation, and retaliation against Plaintiff for exercising her protected

     rights, in violation of the Illinois Civil Rights Act.

59. As a result, Plaintiff suffered economic damages, emotional distress, humiliation,

     loss of dignity and other injuries entitling her to damages, injunctive relief, and

     attorneys' fees under 740 ILCS 23/5 and 23/13.




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                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief as follows:

        a. Compensatory damages in excess of $20,000,000 (twenty million dollars), in an
           amount to be determined at trial.

        b. Punitive damages against the individual Defendants to deter future unconstitutional
           conduct.

        c. Injunctive relief requiring the City of Naperville to implement training and oversight
           measures of the Naperville Police Department to prevent future violations.

        d. Attorneys’ fees and costs pursuant to 42 U.S.C. §1988 and other applicable laws.

        e. Any additional relief this Court deems just and proper.


                                   JURY TRIAL DEMAND

        Plaintiff demands a jury trial on all issues so triable.


DATED: May 21, 2024

                                              The Yeary Firm, LLC

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